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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Ü±²»¬- ªò Ê·ª·¼ Í»¿¬-ô ÔÔÝ                     Case Number: ïæîðó½ªóðíëëï


An appearance is hereby filed by the undersigned as attorney for:
Ê·ª·¼ Í»¿¬-ô ÔÔÝ
Attorney name (type or print): Ð¿«´ Ç±ª¿²·½ô Ö®ò

Firm: Í»§º¿®¬¸ Í¸¿© ÔÔÐ

Street address: îíí Í±«¬¸ É¿½µ»® Ü®·ª»ô Í«·¬» èððð

City/State/Zip: Ý¸·½¿¹±ô ×Ô êðêðê

Bar ID Number: êíîéèïë                                     Telephone Number: íïîóìêðóëððð
(See item 3 in instructions)

Email Address: °§±ª¿²·½à-»§º¿®¬¸ò½±³

Are you acting as lead counsel in this case?                                         Yes       ì No
Are you acting as local counsel in this case?                                        Yes       ì No
Are you a member of the court’s trial bar?                                           Yes       ì No
If this case reaches trial, will you act as the trial attorney?                      Yes       ì No
If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this ourt an attorney must either be a member in good standing of this ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 . . §1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on Ö«²» ëô îðîí

Attorney signature:            S/ Ð¿«´ Ç±ª¿²·½
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
